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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA



 In Re: RFC and RESCAP Liquidating                       Case No. 13-cv-3451 (SRN/HB)
 Trust Action

 This document relates to:
                                                         FINAL JURY INSTRUCTIONS
 ResCap Liquidating Trust v. Home Loan
 Center, Inc., Case No. 14-cv-1716
 (SRN/HB)



                                      Instruction No. 1

       Members of the jury, the instructions I gave you at the beginning of the trial and

during the trial remain in effect. The only exception is that some of the open issues that I

identified to you in my preliminary jury instructions have been decided by the Court

during the course of this trial. As I go through these instructions, I will identify those

issues that no longer require your consideration. Now I am going to give you some

additional instructions.

       You have to follow all of my instructions – the ones I gave you earlier, as well as

those I give you now. Do not single out some instructions and ignore others, because they

are all important. This is true even though I am not going to repeat some of the

instructions I gave you at the beginning of the trial.

       You will have copies of all of the instructions in the jury room. Remember, you

have to follow all my instructions.
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                                     Instruction No. 2

       I have not intended to suggest what I think your verdict should be by any of my

rulings or comments during the trial.

                                     Instruction No. 3

       As I previously instructed you, the evidence from which you will decide the facts

will consist of the testimony of witnesses, documents, and other things received into the

record as exhibits, and any facts that the lawyers agree to or stipulate to or that the court

may instruct you to find.

       Certain things are not evidence and must not be considered by you. I will list them

for you now:

       1. Statements, arguments, and questions by lawyers are not evidence.

       2. Objections to questions are not evidence. Lawyers have an obligation to their

clients to make objections when they believe evidence being offered is improper under

the rules of evidence. You should not be influenced by the objection or by the court’s

ruling on it. If I sustained an objection to a question or exhibit, you must ignore the

question or the exhibit and should not try to guess what the information might have been.

If I overruled the objection, that means you should consider that evidence. However, you

should not give more weight to testimony a witness gives after an objection has been

overruled. Do not draw any conclusions from the question itself or the fact that I

overruled the objection.

       3. Testimony and exhibits that I strike from the record, or tell you to disregard, are

not evidence and must not be considered.


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       4. Anything that you see or hear outside the courtroom is not evidence and must be

disregarded. You are to decide the case solely on the evidence presented here in the

courtroom.

       As I instructed you at various points during the trial, a particular item of evidence

is sometimes received for a limited purpose only. That is, it can be used by you only for

one particular purpose, and not for any other purpose.

       There are two kinds of evidence: direct and circumstantial. Direct evidence is

direct proof of a fact, such as testimony of an eyewitness. Circumstantial evidence is

proof of facts from which you may infer or conclude that other facts exist. You may

consider both kinds of evidence. The law makes no distinction between the weight to be

given to direct or circumstantial evidence.

       During the trial, I sometimes spoke with the lawyers out of your hearing, either by

having a bench conference or “sidebar” while you were present in the courtroom, or by

calling a recess. The purpose of these conferences was to decide how certain evidence

was to be treated under the rules of evidence and then to make certain that nothing will

come before you which might jeopardize the fairness of the trial or which might be

improper for you to hear under the rules of law that govern jury trials.

       From the evidence, you will decide what the facts are. You are entitled to consider

that evidence in the light of your own observations and experiences in the affairs of life.

You will then apply those facts to the law which I give you in these and in my other

instructions, and in that way reach your verdict. You are the sole judges of the facts; but

you must follow the law as stated in my instructions, whether you agree with it or not.


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       Do not allow sympathy or prejudice to influence you. The law demands of you a

just verdict, unaffected by anything except the evidence, your common sense, and the law

as I give it to you.

       In deciding what the facts are, you may have to decide what testimony you believe

and what testimony you do not believe. You may believe all of what a witness said, or

only part of it, or none of it.

       You may consider a witness’s intelligence; the opportunity the witness had to see

or hear the things testified about; a witness’s memory, knowledge, education, and

experience; any reasons a witness might have for testifying a certain way; how a witness

acted while testifying; whether a witness said something different at another time;

whether a witness’s testimony sounded reasonable; and whether or to what extent a

witness’s testimony is consistent with other evidence you believe.

       A witness may be discredited or impeached by contradictory evidence or by

evidence that at some other time the witness has said or done something, or has failed to

say or do something, that is inconsistent with the witness’s present testimony.

       If you believe any witness has been impeached and thus discredited, you may give

the testimony of that witness such credibility, if any, you think it deserves.

       If a witness is shown knowingly to have testified falsely about any material matter,

you have a right to distrust such witness’s other testimony and you may reject all the

testimony of that witness or give it such credibility as you may think it deserves.

       In deciding whether to believe a witness, remember that people sometimes hear or

see things differently and sometimes forget things. You will have to decide whether a


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contradiction is an innocent misrecollection, or a lapse of memory, or an intentional

falsehood; that may depend on whether it has to do with an important fact or only a small

detail.

          The rules of evidence ordinarily do not permit witnesses to testify as to opinions or

conclusions. An exception to this rule exists as to those whom we call “expert witnesses.”

Witnesses who, by education and experience, have become expert in some art, science,

profession, or calling, may state their opinions as to relevant and material matters, in

which they profess to be expert, and may also state their reasons for the opinion.

          You should consider each expert opinion received in evidence in this case, and

give it such weight as you may think it deserves. You should also consider the reasons

the witness gave for the opinion and the witness’s source of information. If you should

decide that the opinion of an expert witness is not based upon sufficient education or

experience, or if you should conclude that the reasons given in support of the opinion are

not sound, or if you feel that it is outweighed by other evidence, you may disregard the

opinion entirely.

          As I previously instructed you, testimony may be presented through a deposition.

A deposition contains the sworn, recorded answers to questions asked of the witness in

advance of the trial. At trial, the parties presented the testimony of certain witnesses by

showing you excerpts of videotaped recordings of the deposition testimony. Such

testimony is entitled to the same consideration as live testimony. You should judge its

believability and weight and otherwise consider the testimony in the same way as if the

witness had been present, and had testified from the witness stand.


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       In the case of a Rule 30(b)(6) deposition, there is no distinction between the

corporate representative and the corporation. The Rule 30(b)(6) designee does not give

his or her personal opinion. Rather, he or she presents the corporation’s “position” on the

topic. The designee testifies on behalf of the corporation.

       You heard evidence in this case concerning proofs of claim that were filed in the

Bankruptcy Court. As I previously instructed you, allegations made in a proof of claim

are not evidence that the allegations are true and you must not consider them for their

truth. A proof of claim reflects only mere accusations against another party. In this case,

the Court already has ruled during the course of trial that the bankruptcy settlements were

reasonable and prudent and entered into in good faith, so there is no need to consider the

proofs of claim.

                                      Instruction No. 4

       This is a civil case. You will have to decide whether certain facts have been

proved by what is called the preponderance of the evidence. A fact has been proved by

the preponderance of the evidence if you find that the fact is more likely true than not

true. You decide that by considering all of the evidence and deciding what evidence is

more believable.

       You have probably heard the phrase “proof beyond a reasonable doubt.” That is a

stricter standard than the preponderance of the evidence. It applies in criminal cases, but

not in this civil case; so put it out of your mind.




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                                     Instruction No. 5

       As you have heard, the Liquidating Trust’s claim against HLC is for contractual

indemnification. Contractual indemnification is an agreement to pay another party for

losses and liabilities that it incurred, in accordance with the terms of that agreement.

       To establish its indemnification claim, the Liquidating Trust must prove each of

the following by a preponderance of the evidence:

       First, the Liquidating Trust must prove that the parties agreed that the Client

Contract and the incorporated Client Guide applied to some or all of the loans sold by

HLC at issue in this case. Because the Court has already ruled, as a matter of law, that

loans purchased by RFC from HLC through Assetwise are covered by the Client Contract

and Client Guide, you must accept that statement as fact. To meet its burden as to the

other at-issue loans, the Liquidating Trust must establish that RFC and HLC entered into

an agreement for HLC to sell RFC at-issue loans that incorporated the Client Guide. An

agreement is a manifestation of mutual assent. A manifestation of mutual assent may be

made orally, in writing, by the actions of the parties, or by a combination of all three.

       Second, for the loans sold by HLC to RFC under the Client Guide, the Liquidating

Trust must show that HLC breached representations and warranties contained in the

Client Guide. As I previously instructed you, the Court has already determined that,

under the Client Guide, the Liquidating Trust has the exclusive right to declare, in its sole

discretion, whether loans sold to RFC by HLC breached the representations and

warranties in the Client Guide. The Court has also determined that the Liquidating Trust

exercised that discretion in good faith. Thus, if you determine that a loan or category of


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loans is governed by the Client Guide and the Liquidating Trust says the loan breached

the representations and warranties in the Client Guide, you must accept that statement as

fact.

          Third, the Liquidating Trust must prove that HLC’s breaches of the Client Guide

representations and warranties were a contributing cause of the claims the RMBS Trusts

and Monoline Insurers brought against RFC in its bankruptcy proceeding; claims that

were eventually settled. Because the Court has already ruled, as a matter of law, that the

Liquidating Trust has met its burden of proving contributing cause, you must accept this

element as proven.

          Fourth, the Liquidating Trust must prove that the bankruptcy settlements for

which it seeks indemnification were reasonable and prudent, and entered into in good

faith. Because the Court has already ruled, as a matter of law, that the Liquidating Trust

has met its burden of proving reasonableness and good faith, you must also accept this

element as proven.

          Fifth, if the Liquidating Trust proves a right to indemnification, then it must prove

what amount, if any, it may recover from HLC. To do so, the Liquidating Trust must

prove, to a reasonable degree of certainty, what amount of the liabilities and losses it

settled in the bankruptcy are attributable to HLC’s breaches of Client Guide

representations and warranties. Although these damages cannot be speculative, the

Liquidating Trust need not prove this amount to a level of mathematical precision. The

Court has already ruled, and thus you must accept as fact, that the Liquidating Trust’s




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allocation of $73 million to RMBS Trust servicing claims and $0 to Monoline servicing

claims is reasonable.

                                     Instruction No. 6

       The Court has already ruled that, under the Client Guide, RFC’s reliance on

HLC’s representations and warranties and knowledge of breaches of those

representations and warranties are not relevant to whether the Liquidating Trust is

entitled to indemnification from HLC. Thus, in determining whether the Liquidating

Trust is entitled to indemnification, you should not consider RFC’s reliance or

knowledge.

                                     Instruction No. 7

       There are rules you must follow when you go to the jury room to deliberate and

return with your verdict.

       First, you will select a foreperson. That person will preside over your discussions

and speak for you here in court.

       Second, it is your duty, as jurors, to discuss this case with one another in the jury

room. You should try to reach agreement, if you can do this without going against what

you believe to be the truth, because all jurors have to agree on the verdict.

       Each of you must come to your own decision, but only after you have considered

all the evidence, discussed the evidence fully with your fellow jurors, and listened to the

views of your fellow jurors.

       Do not be afraid to change your mind if the discussion persuades you that you

should. But, do not come to a decision just because other jurors think it is right, or just to


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reach a verdict. Remember you are not for or against any party. You are judges – judges

of the facts. Your only job is to study the evidence and decide what is true.

       Third, if you need to communicate with me during your deliberations, send me a

note signed by one or more of you. Give the note to the bailiff and I will answer you as

soon as I can, either in writing or here in court. While you are deliberating, do not tell

anyone – including me – how many jurors are voting for any side.

       Fourth, your verdict must be based only on the evidence and on the law I have

given to you in my instructions. Nothing I have said or done was meant to suggest what I

think your verdict should be. The verdict is entirely up to you.

       Finally, the verdict form is your written decision in this case. You will take this

form to the jury room, and when you have all agreed on the verdict, your foreperson will

fill in the form, sign and date it, and advise the marshal or bailiff that you are ready to

return to the courtroom.




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